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    11
    12                          UNITED STATES DISTRICT COURT
    13         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    14
    15 UNITED STATES OF AMERICA,                   Case No. 15-cv-05903-DDP-JEM
    16             Plaintiff,                      PLAINTIFF-INTERVENORS’
             vs.                                   STATUS REPORT
    17
    18 COUNTY OF LOS ANGELES, et al.,              Judge: Hon. Dean D. Pregerson
    19             Defendants.                     Date: November 14, 2022
                                                   Time: 10:00 a.m.
    20
       TERESA POWERS, DAVID PENN,
    21 TIMOTHY POLK, MARK SARNI,
       DERRICK THOMAS, DARSEL
    22 WHITFIELD, ROYAL WILLIAMS,
       AND LEPRIEST VALENTINE,
    23
                Plaintiff-Intervenors.
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     1         In advance of the November 14, 2022 status conference, Plaintiff-Intervenors
     2 submit this status report to inform the Court of recent developments related to
     3 Paragraph 34 of the Settlement Agreement.
     4         Defendants County of Los Angeles and the Sheriff’s recent responses to
     5 written questions confirm that depositions are needed to evaluate the claims
     6 Defendants have made regarding their compliance with Paragraph 34. (See Letter
     7 from R. Dugdale to G. Davis-Denny (Oct. 13, 2022), attached hereto as Exhibit A
     8 (the “responses” or “Resp.”). As the Court will recall, Defendants agreed in
     9 Paragraph 34 to provide certain individuals with significant psychiatric or major
    10 neuro-cognitive disorders with comprehensive release planning. If Defendants
    11 fulfilled their duties, these individuals would not be funneled from the jails to Los
    12 Angeles streets, but would be connected to community-based organizations that
    13 provide housing and other social services and would benefit from those
    14 organizations’ involvement in planning for their release.
    15         At the August 2022 status conference, the Court authorized Plaintiff-
    16 Intervenors to submit twenty written questions to Defendants. Such discovery to
    17 determine compliance with a Court order1 is warranted where “significant questions
    18 regarding noncompliance have been raised.” Cal. Dept. of Social Services v.
    19 Leavitt, 523 F.3d 1025, 1034 (9th Cir. 2008). “[T]he kind and amount of evidence
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    22   1
           The Court’s Order approving the Settlement Agreement both “APPROVED” the
    23   “Agreement” and “entered [the Agreement] as an Order of the Court.” (Doc. 13 at
         3.) The parties also stipulated in amending Paragraph 34 that “[t]he Court shall
    24   retain jurisdiction to enforce the terms set forth in this Stipulation of Dismissal,”
    25   which included amended Paragraph 34. (Doc. 144 at 2.) A district court has
         “ancillary jurisdiction to enforce a settlement agreement” where, as here, “the
    26   parties’ obligation to comply with the terms of the settlement agreement ha[s] been
    27   made part of the order of dismissal—either by separate provision (such as a
         provision ‘retaining jurisdiction’ over the settlement agreement) or by incorporating
    28   the terms of the settlement agreement in the order.” K.C. ex rel. Erica C. v.
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     1 of noncompliance required to justify discovery is, necessarily, considerably less than
     2 that needed to show actual noncompliance.” Id.
     3        Defendants’ October 13, 2022 responses to those written questions raise
     4 serious concerns regarding noncompliance and the County’s procedures for auditing
     5 and assessing compliance:
     6        First, those responses reveal that the County has now tasked the same County
     7 unit that implements Paragraph 34 with the lead role in auditing and assessing the
     8 County’s compliance with Paragraph 34. (Resp. to Question 17.) Prior to Q1 2022,
     9 the County’s Compliance Unit assessed compliance. However, “[s]ince Q1 of 2022,
    10 Care Transitions has been responsible for auditing and assessing compliance with
    11 Provision 34, in conjunction with the Compliance Unit.” (Id.) According to the
    12 County, the Care Transitions Unit also is the “primary County department
    13 responsible for ensuring compliance with Provision 34” and is the unit that
    14 “provides release planning for LACJ and linkage to community services upon
    15 release.” (Resp. to Question 1.) Thus, when Defendants entered into the Paragraph
    16 34 implementation plan in Q1 2022, they also shifted to an auditing and assessment
    17 approach that put Care Transitions in charge of analyzing its own compliance with
    18 Paragraph 34. Perhaps not coincidentally, Care Transitions’ assessment of its
    19 compliance has been far rosier than the assessments that the Compliance Unit had
    20 performed. This makes it critical that Plaintiff-Intervenors have the opportunity to
    21 depose a knowledgeable Care Transitions employee to understand and assess the
    22 specifics of how Care Transitions performs its auditing and assessment duties and
    23 whether the County’s reports of improved compliance with Paragraph 34 reflect real
    24 change or simply show the effects of having the same unit both implement and audit
    25 compliance with Paragraph 34.
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    27
       Torlakson, 762 F.3d 963, 967 (9th Cir. 2014) (quoting Kokkonen v. Guardian Life
    28 Ins. Co. of Am., 511 U.S. 375, 381 (1994)).

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     1         Second, the County’s responses revealed that the County lacks any training
     2 manuals, written instructions, guides, or any other documentation “related to
     3 auditing, other than the data and progress reports that are generated each quarter.”
     4 (Resp. to Question 18.) Thus, when Care Transitions audits its own performance in
     5 implementing Paragraph 34, it does so without any written standards or guidelines.
     6 And because of this lack of documentation, Plaintiff-Intervenors cannot assess the
     7 specifics of how the County is performing its audits through the written record
     8 alone. This absence of written documentation reinforces the importance of Plaintiff-
     9 Intervenors being able to depose a knowledgeable Care Transitions employee
    10 regarding the processes that unit uses to audit its own implementation of Paragraph
    11 34.
    12         Third, the County’s responses strongly suggest that the County has adopted a
    13 check-the-box attitude towards Paragraph 34 that is consistent with neither the terms
    14 nor the spirit of the settlement. For example, in response to a request for
    15 information on the percentage of prisoners entitled to comprehensive release
    16 planning who had a community-based provider participate in the development of the
    17 plan, the County states, “The County does not maintain data on how many clients
    18 entitled to comprehensive release planning have had a CBO [community-based
    19 organization] participate in the development of a comprehensive release plan, and
    20 the County is not obligated under the Settlement Agreement to maintain such data.”
    21 (Resp. to Question 5.) Similarly, the County acknowledges it “does not maintain
    22 data regarding what percentage of prisoners entitled to comprehensive release
    23 planning have actually been housed upon their release from prison” but contends it
    24 “is not obligated under the Settlement Agreement to maintain such data.” (Resp. to
    25 Question 7.)
    26         Paragraph 34, however, provides that “The Comprehensive Release Plan will
    27 include … coordinating with community-based providers to identify available
    28 services that meet the prisoner’s needs … [and] facilitating the transition of care to

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     1 community-based providers.” (Paragraph 34(b)(ii).) Under that provision, the
     2 needs that release planning must account for include “the need of the prisoner for
     3 housing.” (Paragraph 34(a).) Similarly, the Paragraph 34 compliance measures
     4 require the comprehensive release plan to include, among other things, “Connection
     5 to available housing or to community-based providers who can assist in meeting
     6 housing needs” and “[a]n arrangement for transportation to the community-based
     7 provider, residence, or shelter that … is identified in the Comprehensive Release
     8 Plan as being the location where the prisoner will be received.” (Compliance
     9 Measures ¶ 1(d)(3), (8).)
    10         The County’s failure to track the involvement of community-based providers
    11 in the development of comprehensive release plans or the percentage of prisoners
    12 entitled to planning who actually have been housed post-release indicates there are
    13 significant issues with whether the County can assess its own compliance with
    14 Paragraph 34(b)(ii). It also raises serious questions about whether individuals
    15 entitled to connection to housing services and to coordination and facilitation of care
    16 through community-based providers are meaningfully receiving the services that the
    17 County promised in the Settlement Agreement and the Compliance Measures to
    18 provide. Answering those questions also requires and justifies depositions of Care
    19 Transitions staff.
    20         Fourth, the County’s responses state that because the “Provision 34 audit’s
    21 sample size is small—consisting of 85 randomly selected records of individuals,
    22 some of who did not require release planning …. [t]he resulting data … contains a
    23 margin of error that makes certain variances statistically insignificant.” (Resp. to
    24 Question 2.) A sample size of 85 total individuals—and a minimum of 30
    25 individuals who actually required release planning2—however, is the sample size
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        “If these randomly selected records do not include at least 30 prisoners for whom
    28 comprehensive release plans were developed, additional randomly selected records

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     1 the County agreed to in the Compliance Measures. (Compliance Measures ¶ 1.) If,
     2 as the County apparently now believes, the sample size is so small that it can
     3 dismiss unfavorable results as “statistically insignificant,” that raises concerns about
     4 whether the sample size is sufficiently large to provide a meaningful measurement
     5 of the County’s compliance with Paragraph 34. This issue also requires exploration
     6 through depositions.
     7         Fifth, the County’s responses suggest the County lacks any internal
     8 accountability practices for its managers’ and employees’ failures to substantially
     9 comply with Paragraph 34 and the Compliance Measures. In response to a question
    10 about how the County ensures accountability for meeting Paragraph 34’s
    11 requirements and specifically what the consequences are for not meeting those
    12 objectives, the County responded that when objectives are not met, Care Transitions
    13 analyzes root causes, develops additional efforts to address these causes, and shares
    14 these outcomes with staff. (Resp. to Question 1.) Those steps, though positive, do
    15 not demonstrate an effective system of internal accountability because they do not
    16 include adverse consequences for managers and employees if Paragraph 34
    17 substantial compliance is not achieved (or at least the County’s response does not
    18 reveal any such consequences) or positive rewards if Paragraph 34 substantial
    19 compliance is achieved.
    20         In short, the County’s responses raise “significant questions regarding
    21 noncompliance,” California Dept. of Social Services, 523 F.3d at 1034, demonstrate
    22 the limits of what written interrogatories can achieve, and confirm the necessity of
    23 depositions. Cf. Shoen v. Shoen, 5 F.3d 1289, 1297 (9th Cir. 1993) (“[w]ritten
    24 interrogatories are rarely, if ever, an adequate substitute for a deposition when the
    25 goal is discovery of a witness’ recollection of conversations”).
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       from the same week will be added to the sample until the threshold of 30 prisoners
    28 with comprehensive release plans is met.” (Compliance Measures ¶ 1.)

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     1        For all of these reasons, Plaintiff-Intervenors have served a 30(b)(6)
     2 deposition notice on the County to explore how Care Transitions is implementing
     3 Paragraph 34 and assessing and auditing its own compliance with that provision.
     4        Finally, Plaintiff-Intervenors understand that the United States will soon
     5 move to have the Court adopt the implementation plans that the County agreed to as
     6 Court orders. Plaintiff-Intervenors fully support this relief, which should facilitate
     7 the Court holding the County responsible if it fails to abide by its commitments.
     8        Plaintiff-Intervenors look forward to discussing these issues with the Court
     9 and the Parties at the upcoming status conference.
    10
    11
    12 DATED: November 9, 2022
    13
                                             MUNGER, TOLLES & OLSON LLP
    14                                         GRANT A. DAVIS-DENNY
    15
    16
    17                                       By:        /s/ Grant Davis-Denny
    18                                             GRANT A. DAVIS-DENNY
    19                                       Attorneys for Plaintiff-Intervenors

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    21                                       PUBLIC COUNSEL
    22                                          MARK D. ROSENBAUM
                                                MALKA S. ZEEFE
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    25                                       By:    /s/ Mark Rosenbaum
    26                                              MARK D. ROSENBAUM
                                             Attorneys for Plaintiff-Intervenors
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             EXHIBIT A
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C:< l(endall Brill l(elly                                                                               writer's direct:
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                                                                                                        rdugdale@kbkfirm.com




   October 13, 2022


   VIA EMAIL AND U.S. MAIL

   Grant A. Davis-Denny
   Munger, Tolles & Olson LLP
   350 South Grand Ave., Fl. 50
   Los Angeles, CA 90071-3426
   grant.davis-denny@mto.com


   Re:       United States v. County of Los Angeles, et al., Case No. 2:15-cv-5903-DDP-JEM

   Dear Mr. Davis-Denny:

           We write on behalf of the County of Los Angeles (“County”) and the Los Angeles
   County Sheriff (“Sheriff”) (collectively, “Defendants”) in response to your letter, dated
   September 13, 2022, to answer the questions you set forth pursuant to the Court’s August 19,
   2022 minute order and ruling from the bench at the Status Conference of the same date. But as
   the Court, in so ruling, expressly declined to order formal discovery at this juncture, see ECF No.
   216 at 61:2-8, Defendants will not be producing documents in response to the twenty document
   requests also included in your letter. To the extent any questions remain or arise in the future,
   we welcome the opportunity to discuss them with you, as we always have in the past.

           Defendants will not provide any information protected by the attorney-client privilege,
   the attorney work-product doctrine, or any other privilege, protection, or immunity. Defendants
   also will not provide any information that is not relevant to Provision 34 of the Settlement
   Agreement, pursuant to which you have intervened in the above-referenced case.

   Question 1: How do the County and the Sheriff ensure accountability in meeting the
   requirements of Paragraph 34? At a minimum, the answer to this question should address who is
   in the chain of command responsible for ensuring compliance with Paragraph 34, what
   objectives are set for their performance with respect to Paragraph 34, and what the consequences
   are for employees and managers when these objectives are not met. Please provide an org chart
   showing this chain of command and any documentation evidencing the County or the Sheriff
   providing accountability regarding compliance or non-compliance with Paragraph 34.

   Response to Question 1: As we have informed you in the past, the Sheriff is not responsible for
   release planning at the Los Angeles County Jail (“LACJ”). The primary County department
   responsible for ensuring compliance with Provision 34 is the Department of Health Services
   (“DHS”) – Correctional Health Services, and specifically the Care Transitions Unit (“Care


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    Transitions”). This unit provides release planning for LACJ and linkage to community services
    upon release. The Director of Care Transitions is Karen Bernstein.

    Care Transitions’ objectives with respect to Provision 34 are to achieve substantial compliance
    with the Provision 34 Compliance Measures. The Provision 34 Implementation Plan (“Provision
    34 Plan”) submitted on March 10, 2022 detailed specific actions to be taken toward achieving
    those objectives, based on analyses of audit data for each individual component of the
    aggregated measures for the Initial Release Plan (“IRP”) and Comprehensive Release Plan
    (“CRP”) measures. See Provision 34 Plan at 2.

    To the extent objectives are not met, Care Transitions conducts a further analysis of the most
    recent audit data and the trajectory of each individual component to assess which elements are
    deficient, to determine, if possible, any root causes, and to develop additional efforts for
    addressing them. Outcomes are shared with staff to ensure the staff is aware of the areas of
    needed improvement in advance of the next quarter.

    Question 2: Why did a lower percentage of inmates receive comprehensive release planning
    within 30 days and Initial Release Planning in Quarter 1 of 2022 than in Quarter 2 of 2021?
    Please provide all documentation that contains analysis of why these percentages declined?

    Response to Question 2: As a threshold matter, the Provision 34 audit’s sample size is small—
    consisting of 85 randomly selected records of individuals, some of whom did not require release
    planning due to being sentenced to prison, transferred to state hospital, or other circumstances.
    The resulting data, therefore, contains a margin of error that makes certain variances statistically
    insignificant. The shift in IRPs not completed from 24% in Quarter 2 of 2021 to 26.7% in
    Quarter 1 of 2022, for a difference of 2.7%, may be within the range of statistical chance.

    Regardless, the County believes that any variance between the data from Quarter 2 of 2021 and
    Quarter 1 of 2022 exists because neither audit reflects the impact from the combination of
    improved caseload tracking, Community Health Worker work, and supervision changes initiated
    in February 2022. As the County has stated, it does not expect these interventions to begin to
    have an impact until Quarter 2 of 2022. See Provision 34 Plan at 12; Progress Report at 1-2.
    Irrespective of this, although the percentage of CRPs initiated within 30 days decreased, the
    percentage of CRPs not completed also decreased.

    Finally, this question misses the mark insofar as it fails to account for the fact that, even without
    having experienced the anticipated benefits of the corrective actions set forth above which took
    place in February 2022, the County has shown steady improvement under Compliance Measure
    34-13(c)(2), which concerns providing inmates with IRPs, and Compliance Measure 34-13(c)(3),
    which concerns providing inmates with CRPs, during the last four quarters covered by the
    Monitor’s two most-recent Monitoring Reports.




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        Provision 34 – Results in the Most Recent Four Quarters Reported By the Monitor

                          Initial Release Plans (Compliance Measure 34-13(c)(2))

                Q2 2021              Q3 2021                 Q4 2021                 Q1 2022
                 50%                   60%                     63%                     70%


                     Comprehensive Release Plans (Compliance Measure 34-13(c)(3))

                Q2 2021              Q3 2021                 Q4 2021                 Q1 2022
                 35%                   26%                     33%                     45%


    Indeed, these statistics reflect that the County is on pace, if not ahead of pace, to meet the
    benchmarks set forth in the Provision 34 Plan agreed to by the parties earlier this year. See
    Provision 34 Plan at 12 (projecting that the County hoped to see an increase in its IRP measure to
    70% by Q2 of 2022 and an increase in its CRP measure to 55% by Q2 of 2022).

    Question 3: What criteria do the County, the Sheriff, and/or release planning staff use to
    determine when an invitation to a community based organization to participate in release
    planning has occurred? Does an unanswered phone call from release planning staff count as
    such an invitation? Does leaving a voicemail qualify? Does sending an email that goes
    unanswered qualify? Please provide any documentation that is given to release planning staff
    that provides guidance or training on when they should mark as complete the task of inviting
    CBOs to participate in release planning or on how to invite CBOs to participate in release
    planning.

    Response to Question 3: The County may determine that an invitation to a CBO to participate
    in release planning has occurred if there was a good faith effort to reach out to the CBO by email
    or phone and that effort was documented properly in Correctional Health Services’ electronic
    medical record system. An unanswered phone call from release planning staff does not count as
    such an invitation. A voicemail from release planning staff might qualify, though email is the
    usual method of communication. An invitation to a CBO to participate in release planning may
    also be deemed to have occurred based on documentation about the involvement of a CBO in
    providing such services.

    After the Care Transitions staff designates that an invitation was or was not provided, or that
    release planning was not applicable, an auditor will review the determination during the quarterly
    audit to ensure it is supported by the case notes before accepting the response.




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    Question 4: Why did the County and Sheriff fail to meet their hiring goals for Medical Case
    Workers (“MCWs”)? Why did two MCWs rescind their acceptances during the onboarding
    period? What is the County and Sheriff’s plan for improving retention? What is the County and
    Sheriff’s plan for filling vacant MCW positions? Please provide all documentation evidencing
    or discussing these plans or the failure to meet hiring goals.

    Response to Question 4: The County did not meet its hiring goals for MCWs for a myriad of
    reasons, including because candidates declined or did not respond to requests for an interview or
    to the job offer itself. The challenges described in the Provision 34 Plan and Progress Report
    have remained, including candidates’ preferences for a non-custody work environment, delays in
    receiving the next band of candidates after clearing the current band, and being unable to move
    to the next band because there are more than four candidates who have been interviewed and not
    selected who would accept the position if offered. See Provision 34 Plan at 3-4; Progress Report
    at 3-4.

    Two MCWs rescinded their acceptances during the onboarding period because they accepted
    different jobs. One accepted a different position in the same department; the other took another
    higher-level job they had applied for prior to applying to the MCW position. The County
    believes that any challenges in hiring and retaining mental health professionals it has
    experienced are similar to those being experienced in other organizations at this time. There is a
    critical shortage of mental health professionals across the country, and specifically in California.
    Candidates are in high demand and may receive multiple offers. As the County hires additional
    staff and supervisors, it expects improvements in the day-to-day experience of the staff that will
    affect retention, such as lower caseloads and more support and training. The County is actively
    recruiting and interviewing candidates to fill vacant MCW positions.

    Question 5: In each of the last eight quarters for which data is available, what percentage of
    prisoners entitled to comprehensive release planning have had a community-based provider
    participate in the development of a comprehensive release plan? Please provide substantiating
    documentation.

    Response to Question 5: The County does not maintain data on how many clients entitled to
    comprehensive release planning have had a CBO participate in the development of a
    comprehensive release plan, and the County is not obligated under the Settlement Agreement to
    maintain such data.

    Question 6: What criteria do the County and the Sheriff use to determine when a connection to
    available housing or community-based providers who can assist in meeting housing needs has
    occurred? Does an unanswered phone call from release planning staff meet the criteria? Does
    leaving a voicemail meet the criteria? Does sending an email that goes unanswered meet the
    criteria? Please provide any documentation that is given to release planning staff that provides
    training or guidance on (1) when they should mark as complete the task of making a connection
    to available housing or community-based providers who can assist in meeting housing needs;



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    and (2) how to connect prisoners to community-based providers who can assist in meeting
    housing needs.

    Response to Question 6: There is no scenario in which a phone call, voicemail, or email is
    sufficient to connect a client to interim housing. The County may determine that a connection to
    interim housing has occurred if a referral has been made, which generally consists of completing
    and submitting a multi-page referral form, obtaining consent forms, and contacting the applicable
    CBO by email with follow up emails or calls as necessary. Additionally, for referrals to DHS
    Housing for Health (the most frequent referrals), obtaining medical records is also required.

    The County may additionally determine that a connection to interim housing has occurred if the
    client is released to a residential treatment provider or if documentation of linkage to a housing
    case manager exists.

    Question 7: In each of the last eight quarters for which data is available, what percentage of
    prisoners entitled to comprehensive release planning have actually been housed upon their
    release from prison and how do those percentages compare to the percentages before the County
    began implementing Paragraph 34? Please provide substantiating documentation.

    Response to Question 7: The County does not maintain data regarding what percentage of
    prisoners entitled to comprehensive release planning have actually been housed upon their
    release from prison, and the County is not obligated under the Settlement Agreement to maintain
    such data.

    Question 8: For prisoners who have received comprehensive release planning, what data does
    the County have on their recidivism rates and how do those rates compare to rates for the same
    population prior to the County beginning to implement Paragraph 34? Please provide
    substantiating documentation.

    Response to Question 8: The County does not maintain data on recidivism rates for clients who
    received comprehensive release planning, and the County is not obligated under the Settlement
    Agreement to maintain such data.

    Question 9: How has the County Board of Supervisors’ exercise of its budgetary authority
    and/or “failure to provide minimal and critical resources essential to attaining what is required
    under the Agreement” impacted the County and Sheriff’s compliance with Paragraph 34? See
    Dkt. 202 at 30. The Sheriff has claimed that “the County’s Board of Supervisors has
    increasingly … sought to utilize its budgetary authority over the Sheriff in a very damaging
    manner consistent with the apparent purpose of impairing the Sheriff’s capacity to comply with
    his independent obligations under the Agreement” and that this has been to “the direct detriment
    of the Sheriff’s ability to comply with his obligations under the Agreement.” Dkt. 202 at 8.
    Please identify each way in which the Board’s budgetary authority has impaired, damaged, or




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    been to the detriment of the Sheriff’s or the County’s ability to comply with Paragraph 34 and
    provide all documentation that discusses this issue.

    Response to Question 9: It has not at all. As we have previously informed you, the Sheriff is
    not responsible for release planning.

    Question 10: What impact(s) has the Board of Supervisor’s’ cancellation of planned
    construction of the Consolidated Correctional Treatment Facility had on the County and Sheriff’s
    ability to provide initial release planning and comprehensive release planning or to comply with
    Paragraph 34? See Dkt. 202 at 9. Please provide all documentation that discusses any such
    impacts.

    Response to Question 10: None. See supra, Response to Question 9.

    Question 11: What impact(s) has the Board of Supervisors’ decision to cut 1280 budgeted
    positions from the Sheriff’s Department and/or to implement a hiring freeze had on
    comprehensive release planning, initial release planning, or the Sheriff’s and County’s
    implementation of Paragraph 34? See Dkt. 202 at 9-10 & Dkt. 203-2. Please provide all
    documentation that discusses any such impacts.

    Response to Question 11: None. See supra, Response to Question 9.

    Question 12: Is “the Sheriff’s Department understaffed and without any realistic resources to
    achieve” Paragraph 34 “compliance on a long-term basis,” see Dkt. 202 at 10? If so, why and
    how does this impact Paragraph 34 compliance? Please provide all documentation that discusses
    any understaffing or resource shortage that impairs the Sheriff’s ability to comply with
    Paragraph 34.

    Response to Question 12: See supra, Response to Question 9.

    Question 13: How have actions by the Office of County Counsel, the County Chief Executive,
    or the Board of Supervisors “constrained the ability of the Sheriff to move budgeted and fully
    appropriated positions within the Department” to cover staffing needs related to Paragraph 34
    implementation, comprehensive release planning, or initial release planning? See Dkt. 202 at 10-
    11. Please provide all documentation that discusses any such actions or constraints.

    Response to Question 13: They have not. See supra, Response to Question 9.

    Question 14: Does the Sheriff or the County believe that the closure of Men’s Central Jail
    without either construction of a modern mental health facility or substantial improvement of
    existing locations will impact the Sheriff’s and County’s abilities to comply with Paragraph 34,
    comprehensive release planning, or initial release planning? See Dkt. 202 at 13. If so, how?
    Please provide all documentation that discusses any such impacts.




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    Response to Question 14: No.

    Question 15: Does the Sheriff or the County believe that the Paragraph 34 implementation plan
    is “insufficient to meet treatment needs or attain any appreciable measure of long-term
    compliance with the Agreement”? See Dkt. 202 at 14. If so, why is the plan insufficient and
    when did the Sheriff or the County first determine that the plan was insufficient? Please provide
    all documentation that discusses the sufficiency of the Paragraph 34 implementation plan to
    attain compliance with Paragraph 34.

    Response to Question 15: No.

    Question 16: Does the Sheriff or the County believe that a “lack of valid systematic data,” see
    Dkt. 203-8 at 3, impacts the Sheriff’s or County’s ability to comply with Paragraph 34 or to
    accurately audit or assess compliance with Paragraph 34? If so, how does the lack of valid
    systematic data have such impacts? Please provide all documentation that discusses the lack of
    such data or its impacts on Paragraph 34 implementation or compliance assessment.

    Response to Question 16: No.

    Question 17: Which managers and employees are responsible for auditing or assessing the
    County’s and Sheriff’s compliance with Paragraph 34, the Paragraph 34 Compliance Measures,
    and/or the Paragraph 34 Implementation Plan and for each such manager and employee, what is
    his or her title and role with respect to such auditing or assessments? Please provide an org chart
    that includes these managers and employees, as well as their reporting structure, and any
    documentation in which these managers or employees have raised concerns related to the
    auditing or assessments, such as about their access to information or the quality of the data they
    were using for the assessment or audit.

    Response to Question 17: Since Q1 of 2022, Care Transitions has been responsible for auditing
    and assessing compliance with Provision 34, in conjunction with the Compliance Unit.
    Previously, the Compliance Unit was solely responsible for this.

    Question 18: What documentation related to implementation, auditing, or assessment of
    Paragraph 34 compliance does the Sheriff or County provide to staff who are involved with such
    implementation, auditing, or assessment? Please provide such documentation, including all
    trainings, instructions, guides, manuals, and FAQs.

    Response to Question 18: Care Transitions staff documents their release planning efforts in an
    electronic records system called PowerChart (or JHIS).1 There is also a documentation set in the
    Comprehensive Health Accompaniment and Management Platform (“CHAMP”), another
    electronic records system, which contains the Exit Checklist set forth in the Provision 34


    1
        Care Transitions very recently transitioned to a new system called ORCHID.



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      Compliance Measures. There are no documents related to auditing, other than the data and
      progress reports that are generated each quarter.

      Question 19: Does the Board of Supervisors or County believe that any actions or inaction by
      the Sheriff has impaired the County or Sheriff’s ability to comply with Paragraph 34? If so, what
      actions or inaction and how have they impaired Paragraph 34 compliance? Please provide any
      documents discussing this action or inaction or their impacts on Paragraph 34 compliance.

      Response to Question 19: No.

      Question 20: Has the Board of Supervisor’s’ decisions not to provide additional funding to the
      Office of Diversion and Reentry’s Supportive Housing Program or ODR Housing impacted the
      Sheriff’s or County’s ability to comply with Paragraph 34? If so, how? Please provide any
      documents discussing these impacts.

      Response to Question 20: The County does not believe the decision has impacted its ability to
      comply with Paragraph 34. See supra, page 3 (setting forth results in the most recent four
      quarters reported by the Monitor). Moreover, on October 4, 2022, the Board of Supervisors
      approved over $25 million in funding to expand the Office of Diversion and Re-Entry Housing
      Program by an additional 750 beds.

      Sincerely,




      Robert E. Dugdale

      cc:         Dylan Ford;
                  Nicholas E. Mitchell;
                  Matthew Nickell;
                  Margaret Ming Chen;
                  Luis E. Saucedo;
                  Maggie Filler;
                  Maura Klugman;
                  Mark D. Rosenbaum




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